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                    EXHIBIT 19
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 20-60416-CIV- CANNON/HUNT

   TOCMAIL INC., a Florida corporation,

                  Plaintiff,
   v.

   MICROSOFT CORPORATION, a
   Washington corporation,

               Defendant.
   ________________________________________/

                                DECLARATION OF MICHAEL WOOD

          I, Michael Wood, hereby declare and state:

          1.      I am over the age of 21 and am otherwise sui juris.

          2.      I have personal knowledge of the matters set forth herein.

          3.      I began my professional career in late 1980’s designing network security (cyberse-

   curity) products.

          4.      I realized that the effectiveness of these network security products was dependent

   on the strength of the cryptographic algorithm being used. Therefore, I designed and patented the

   strongest block cipher at this time. See U.S. Patent No. 5,003,596.

          5.      I also co-authored a published paper with cryptography researcher Dr. Thomas

   Cusick (PhD in Cryptography from Cambridge University) regarding the mathematical innova-

   tions upon which my cryptography is built. (Cusick T.W., Wood M.C. (1991) The Redoc II Cryp-

   tosystem. In: Menezes A.J., Vanstone S.A. (eds) Advances in Cryptology-CRYPTO’ 90.

   CRYPTO 1990. Lecture Notes in Computer Science, vol 537. Springer, Berlin, Heidelberg.

   https://doi.org/10.1007/3-540-38424-3_38.). My security breakthrough is included in Applied



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   Cryptography by Bruce Schneir, which is recommended reading by Yale for their Cryptography

   and Computer Security students and by MIT for their Computer and Network Security students. It

   has been academically studied as “a potential replacement for DES” — the US National Encryp-

   tion Standard designed by the National Security Agency (NSA). (Guerrero F., Noras J.M. (1995)

   Customised hardware based on the REDOC III algorithm for high performance data ciphering. In:

   Moore W., Luk W. (eds) Field-Programmable Logic and Applications. FPL 1995. Lecture Notes

   in Computer Science, vol 975. Springer, Berlin, Heidelberg. https://doi.org/10.1007/3-540-60294-

   1 103.).

          6.      For the next decade, I worked in Information Technology, which included over

   seven years overseeing all aspects of a network infrastructure including security. Additionally,

   during the latter part, I invented a methodology to automatically create a blueprint of an organiza-

   tion’s physical network infrastructure, worldwide, accurate to the hour. I patented this methodol-

   ogy and also served as the lead programmer on the commercial version. I negotiated the sale of

   my patent and technology to Micromuse Inc., a network management software company, for $42

   million in stock with a one-year stock lockup stipulation. My technology proved so valuable to

   Micromuse that it catapulted the stock value of the multi-national corporation, resulting in a stock

   value in excess of $95 million by the time the stock lockup period expired. This technology has

   applications to both network management and to hacking (as a reconnaissance tool).

          7.      Following the sale of my technology to Micromuse, I continued developing other

   inventions, all involving Software Engineering.




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          8.      In 2014, I returned to focusing full time on cybersecurity due to hackers remotely

   controlling my computers. Unable to find an off-the-shelf product to block the miscreants, I de-

   voted myself full-time to the study of hacking, devouring dozens of highly technical books on the

   subject (including the 488-page tome Hacking: the Art of Exploitation).

          9.      I then programmed my own software firewall which instantly identified the (two)

   IP addresses being used to access my computers, and blocked them.

          10.     I then designed a Window’s version of the product called Hacker Deterrent.

          11.     However, when Microsoft changed from Windows as a product to Windows as a

   service (aka Windows 10), it forbade developers from offering users full control over their network

   traffic. I therefore moved to focusing on solving the problem of phishing, during which time I

   immersed myself in every study I could find on the issue of cloaking (the reason that phishing is a

   big problem in the first place).

          12.     I designed, patented, and developed my initial technology to effectively block email

   phishing links, naming the technology PhishViewer. Although PhishViewer solved the problem

   of cloaking, PhishViewer always required users to manually make a choice.

          13.     However, on May 23, 2019, I was notified that another patent was going to issue

   — a patent whose claimed methodology solves the problem of cloaking while also automatically

   taking users to approved sites.

          14.     Therefore, I shifted my focus to adding the automated methodology to PhishViewer

   thereby creating TocMail — a cybersecurity service that TocMail Inc introduced to the market-

   place in December 2019.




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